JS 44 (Rev. 10/20)

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age 1 of 14
Lee ade r other papers as required by law, except as

provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the

purpose of initiating the civil docket sheet.

I. (a) PLAINTIFFS
JOHN R. GREISIGER

(b) County of Residence of First Listed Plaintiff FLORIDA
(EXCEPT IN U.S. PLAINTIFF CASES)

 

(c) Attorneys (Firm Name, Address, and Telephone Number)

RICHARD J. GERACE, GERACE LAW OFFICE 1515
MARKET ST., STE 1200, PHILA. PA 19102

(SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

DEFENDANTS

County of Residence

NOTE:
THE TRACT

Attorneys (Jf Known)

 

HIGH SWARTZ

of First Listed Defendant

BUCKS, PA

(IN U.S. PLAINTIFF CASES ONLY)

OF LAND INVOLVED.

IN LAND CONDEMNATION CASES, USE THE LOCATION OF

 

II. BASIS OF JURISDICTION (Place an “X” in One Box Only)

(1 U.S. Government 3 Federal Question

 

(For Diversity Cases Only)

Il. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X" in One Box for Plaintiff

and One Box for Defendant)

 

 

   

 

 

  

  

 

 

  
 

  

 

 

   

  
 

 
 

    
 
  
 

PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State C] 1 1 Incorporated or Principal Place C] 4 [x] 4
of Business In This State
C] 2 U.S. Government [x]4 Diversity Citizen of Another State [x] 2 | 2 Incorporated and Principal Place EC] 5 LC] 5
Defendant (Indicate Citizenship of Parties in Item III) of Business In Another State
Citizen or Subject of a | 3 fm) 3 Foreign Nation | 6 C 6
Foreign Country
IV. NATURE OF SUIT (Place an “x” in One Box Only) Click here for: Nature of Suit Code Descriptions.
: ____ CONTRACT Lo TORTS _ FORFEITURE/PENALTY | BANKRUPTCY _ : OTHER STATUTES
110 Insurance PERSONAL INJURY PERSONAL INJURY | 625 Drug Related Seizure 422 Appeal 28 USC 158 375 False Claims Act
120 Marine 310 Airplane C 365 Personal Injury - of Property 21 USC 881 423 Withdrawal 376 Qui Tam (31 USC
130 Miller Act 315 Airplane Product Product Liability | 690 Other 28 USC 157 3729(a))
140 Negotiable Instrument Liability C 367 Health Care/ | 400 State Reapportionment
LJ 150 Recovery of Overpayment 320 Assault, Libel & Pharmaceutical ROPERTY REI 410 Antitrust
& Enforcement of Judgment! Slander Personal Injury 820 Copyrights 430 Banks and Banking
151 Medicare Act | 330 Federal Employers’ Product Liability 830 Patent 450 Commerce
152 Recovery of Defaulted Liability | 368 Asbestos Personal 835 Patent - Abbreviated 460 Deportation
Student Loans 340 Marine Injury Product New Drug Application 470 Racketeer Influenced and
(Excludes Veterans) 345 Marine Product Liability 840 Trademark Corrupt Organizations
LC] 153 Recovery of Overpayment Liability PERSONAL PROPERTY LABOR ] 880 Defend Trade Secrets | 480 Consumer Credit
of Veteran’s Benefits 350 Motor Vehicle 370 Other Fraud 710 Fair Labor Standards Act of 2016 (15 USC 1681 or 1692)
L] 160 Stockholders’ Suits 355 Motor Vehicle H 371 Truth in Lending Act | 485 Telephone Consumer
[x] 190 Other Contract Product Liability | 380 Other Personal | 720 Labor/Management : AL Protection Act
195 Contract Product Liability 5 360 Other Personal Property Damage Relations 861 HIA (1395ff) |_| 490 Cable/Sat TV
4 196 Franchise Injury C] 385 Property Damage He Railway Labor Act 862 Black Lung (923) |_| 850 Securities/Commodities/
| 362 Personal Injury - Product Liability 751 Family and Medical 863 DIWC/DIWW (405(g)) Exchange
Medical Malpractice Leave Act 864 SSID Title XVI | 890 Other Statutory Actions

 
   
 

 

    
   

7TViLon ——

210 Land Condemnation Habeas Corpus:
[| 220 Foreclosure

o 230 Rent Lease & Ejectment

240 Torts to Land
[_] 290 All Other Real Property

 

440 Other Civil Rights

441 Voting

442 Employment

443 Housing/
Accommodations

    
   
    

245 Tort Product Liability

   
    

 

Other:

| _]540 Mandamus & Other
| 550 Civil Rights

|_| 555 Prison Condition
|_| 560 Civil Detainee -
Conditions of
Confinement

:

448 Education

 

 
    

| 790 Other Labor Litigation
| 791 Employee Retirement
Income Security Act

|___ IMMIGRATION |

[|] 865 RSI (405(g))

    

RPE 8
[_] 870 Taxes (U.S. Plaintiff
or Defendant)
[_] 871 IRS—Third Party
26 USC 7609

 

462 Naturalization Application
465 Other Immigration
Actions

 

 

 

   

| | 891 Agricultural Acts
893 Environmental Matters
895 Freedom of Information
Act
896 Arbitration
- 899 Administrative Procedure
Act/Review or Appeal of
Agency Decision
|] 950 Constitutionality of
State Statutes

 

 

V. ORIGIN (Place an “X” in One Box Only)

 

 

 

 

 

 

 

 

 

1 Original 2 Removed from 3. Remanded from CO 4 Reinstated or CO 5 Transferred from 6 Multidistrict 8 Multidistrict
Proceeding State Court Appellate Court Reopened Another District Litigation - Litigation -
(specify) Transfer Direct File
Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
28 U.S.C. 1332
VI. CAUSE OF ACTION —- — ;
Brief description of cause:
BREACH OF CONTRACT BY THIRD PARTY BENEFICIARY
VIT. REQUESTED IN (.] CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P. JURY DEMAND: [x]yes [No
VIII. RELATED CASE(S)
(See instructions):
IF ANY JUDGE DOCKET NUMBER
DATE SIG E OF ATTORAAE; t OFRECORD
2/16/2022 h etedpide
FOR OFFICE USE ONLY c SJ f
RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE

 
UNITED STATES DISTRICT COURT
Case 2:22-cv-086819G:ANST Bocoismnct oFAHeNNe?21Vahaa Page 2 of 14

DESIGNATION FORM

(to be used by counsel or pro se plaintiff to indicate the category of the case for the purpose of assignment to the appropriate calendar)

Address of Plaintiff: 2806 8TH AVENUE, ST. JAMES CITY, FL 33956
Address of Defendatt {GH SWARTZ 116 EAST COURT STREET DOYLESTOWN, PA 189(
Place of Accident, Incident or Transaction: DOYLESTOWN PA

 

RELATED CASE, IF ANY:
Case Number: Judge: Date Terminated:
Civil cases are deemed related when Yes is answered to any of the following questions:

1. _ Is this case related to property included in an earlier numbered suit pending or within one year Yes | Nol |
previously terminated action in this court?

 

 

2. Does this case involve the same issue of fact or grow out of the same transaction as a prior suit Yes No
pending or within one year previously terminated action in this court?

 

3. Does this case involve the validity or infringement of a patent already in suit or any earlier Yes [ | No
numbered case pending or within one year previously terminated action of this court?

4. Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights Yes [ ] No
case filed by the same individual?

I certify that, to my knowledge, the within case (0 is / [7 is not related to any case now pending or within one year previously terminated action in
this court except as noted above.

DATE: 2/1 6/2022 Must sign here 921 76

 

 

 

 

 

 

 

 

Attorney-at-Law / Pro Se Plaintiff Attorney 1.D. # (if applicable)

CIVIL: (Place a V in one category only)
A, Federal Question Cases: B. Diversity Jurisdiction Cases:
CT] 1 Indemnity Contract, Marine Contract, and All Other Contracts 1 Insurance Contract and Other Contracts
[] 2. FELA L] 2. Airplane Personal Injury
[1] 3. Jones Act-Personal Injury [] 3. Assault, Defamation
[] 4. Antitrust [] 4. Marine Personal Injury

5. Patent [] 5. Motor Vehicle Personal Injury

6. Labor-Management Relations [.] 6. Other Personal Injury (Please specify):
L] 7. Civil Rights [] 7. Products Liability
[] 8. Habeas Corpus L] 8. Products Liability — Asbestos

9. Securities Act(s) Cases [] 9. All other Diversity Cases

10. Social Security Review Cases (Please specify):
[] 11. All other Federal Question Cases

(Please specify):
ARBITRATION CERTIFICATION
(The effect of this certification is to remove the case from eligibility for arbitration.)

I, Richa rd J * Gerace . counsel of record or pro se plaintiff, do hereby certify:

 

Pursuant to Local Civil Rule 53.2, § 3(c) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
exceed the sum of $150,000.00 exclusive of interest and costs:

[ Relief other than monetary damages is sought.

pare: 2/16/2022 1d, Anede spose 92176

Ze A ttorney-at-Deus)/ Pro Se Plaintiff Attorney 1.D. # (if applicable)

NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38.

 

Civ. 609 (5/2018)

 
Case 2:22-cv-00591-GAM Document1 Filed 02/16/22 Page 3 of 14

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

JOHN R. GREISIGER

Plaintiff,
Vv. : CASE NO: 2:22-cv-00591
HIGH SWARTZ LLP,
KATHLEEN THOMAS, ESQ., and
JUDITH LOUGHLIN
Defendants

COMPLAINT

LL PARTIES:

1. Plaintiff John R. Greisiger (“Plaintiff”) is a citizen of Florida.

2. Defendant High Swartz, LLP (“High Swartz”) is a law firm located in Bucks
County, Pennsylvania.

3). Defendant Kathleen Thomas (“Thomas”) is a citizen of Pennsylvania and a licensed
attorney in Pennsylvania.

4. Defendant Judith Loughlin (“Loughlin”) is the sister of Plaintiff and a citizen of
Pennsylvania; she is also the daughter of Ruth Greisiger (“Ruth”).
Il. STATEMENT OF JURISDICTION AND VENUE

5. This Court has diversity jurisdiction under 28 U.S.C. § 1332(a)(1) because the
matter in controversy exceeds the sum or value of $75,000, exclusive of interest and costs, and the
matter is a case or controversy between citizens of different States.

6. Accordingly, there is complete diversity of citizenship amongst the parties.
a Venue is proper in this district under 28 USC 1391(b) because all of the Defendants

reside in this district and all of the conduct alleged occurred or originated in this district.
Case 2:22-cv-00591-GAM Document1 Filed 02/16/22 Page 4 of 14

II. FACTS COMMON TO ALL COUNTS

8. Ruth is the mother of three adult children, Judith Loughlin (“Loughlin”), Arthur
Greisiger, and Plaintiff John R. Greisiger.

9. Ruth passed away on September 10, 2021.

10. Her last will was purportedly written and signed on May 7, 2019 (the “May 7th
Will” or “Will”).

11. The Will was written by the law firm of High Swartz and Attorney Thomas.

12. Attorney Thomas was one of two witnesses to the execution and notarization of the
Will.

13. High Swartz and Thomas were engaged to accomplish Ruth’s long stated intention
to equally distribute her assets within and outside of a will equally amongst her children.

14. It was common knowledge amongst her three children, as stated from time to time
by Ruth herself, that she intended to distribute her remaining assets equally to her children even
though some assets were to be dedicated to one child or another.

15. Nevertheless, her intention was that in the end her probate and non-probate assets
were to be equally distributed to her children.

16. By May of 2019, Ruth was in poor physical and mental health and required
extensive care and treatment.

17. Care and treatment for her physical and mental conditions required payment over

and above any available insurance coverage.
18. Payment was funded through Ruth’s existing assets which included investments

and trusts.
Case 2:22-cv-00591-GAM Document1 Filed 02/16/22 Page 5 of 14

19. In the months before May 2019, Ruth appears to have discharged her long-time
lawyer Brian Price and visited or was taken to a number of other law firms to rearrange her non-
probate assets and write the new May 7th Will.

20. | Atsome point, Ruth was brought to High Swartz and Attorney Thomas.

21. However, the stated objective of Ruth, to equally distribute her remaining assets to
her children appears to remain the same in principle.

22. Ruth engaged the services of High Swartz and Attorney Thomas to achieve that
objective.

23. Upon information and belief, there was a written attorney-client agreement by and
between Ruth and her law firm and lawyers at High Swartz in particular Attorney Thomas.

24. During all times relevant, Attorney Thomas worked under the direction and control
of High Swartz to achieve Ruth’s stated objective.

25. Attorney Thomas not only created the May 7th Will, she also accounted for all other
assets owned by Ruth for the equal distribution of her assets, and created the documents necessary
to achieve that objective.

26. Upon final consideration, Attorney Thomas created the necessary documentation,
dissemination of non-probate assets or paid on death assets, and had Ruth execute the documents
including the May 7th Will.

27. This suit is dedicated to the consideration and provision of Ruth’s non-probate
assets, including joint accounts, and paid on death accounts and investment outside of the May 7th
Will.

28. In addition, this suit is dedicated to assets removed from the prior will and

disseminated outside the May 7" Will.
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29. During all times relevant, High Swartz, Attorney Thomas, and Defendant Loughlin
were aware of Ruth’s objective to equally distribute her remaining assets to her children.

30. | Upon information and belief, Attorney Thomas and Defendant Loughlin discussed,
considered and accounted for Ruth’s assets, and her intentions and objectives, which clearly exists
in all prior writings, wills, and directions to disseminate outside of probate as well as the
considerations written into the May 7th Will.

31. Based on these discussions, and despite the stated intentions and objective of Ruth
to equally distribute her remaining assets equally to her children, High Swartz, Attorney Thomas
and Defendant Loughlin appear to have decided on a scheme that failed to accomplish the equal
distribution of Ruth’s assets to her children.

32. | Whether or not the May 7th Will was the product of undue influence, lack of
testamentary capacity, or fraud remains to be seen and is outside of this lawsuit.

33. | However, the utter failure of High Swartz, Attorney Thomas and Defendant
Loughlin, to the extent Defendant Loughlin was bound to achieve the intentions and objective of
Ruth to equally distribute her assets to her children, constitutes a breach of contractual duties and
obligations.

34. The breach of contract by High Swartz, Attorney Thomas and Defendant Loughlin,
to the extent Defendant Loughlin was bound to achieve the intentions and objective of Ruth to
equally distribute her assets to her children are compounded and complicated by the conduct of
Defendant Loughlin who used undue influence to deny Plaintiffs rights to an equal share of Ruth’s
assets.

35. | As a named beneficiary in the May 7th Will, and all prior wills, as well as a

designated recipient of Ruth’s assets, Plaintiff is irrefutably a third-party beneficiary.
Case 2:22-cv-00591-GAM Document1 Filed 02/16/22 Page 7 of 14

36. As a third-party beneficiary, Plaintiff seeks in personam judgments against
Defendants High Swartz, Thomas, and Loughlin for the damages caused him by defendants’
breach of contractual obligations and tortious interference with his expectancy.

37. Accordingly, this suit is aimed at non-probate assets which does not require a
federal court to determine the validity or invalidity of a will.

38. Indeed, this suit seeks in personam judgments against the defendants for assets
transferred or assigned during Ruth’s lifetime, and not part of her estate upon her passing.

39. The suit is based on the individual breach of contract owed by High Swartz,
Attorney Thomas, and Loughlin, all of whom were individually or collectively obligated to achieve
the stated objective of Ruth.

40. In addition, the suit is dedicated to the tortious interference by Loughlin with
Plaintiff's inheritance or expectancy.

41. Specifically, this suit focuses on the dismantling of prior directives designed to
achieve Ruth’s objective, and the defendants’ individual and collective actions and/or failures to
act that destroyed or frustrated Ruth’s objective.

42. The dismantling or destruction of Ruth’s objectives occurred through the
defendants’ individual and/or collective failures, or deliberate prevention of the designation of
assets and/or creation of inter vivos trusts to achieve Ruth’s objectives.

43. Accordingly, this court has jurisdiction to hear and decide Plaintiff's claims that

assets were allegedly transferred during Ruth’s lifetime that failed to equalize the equal distribution

of Ruth’s remaining assets to her children outside of any will.
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IV. CAUSES OF ACTION
COUNT I - BREACH OF CONTRACT BY HIGH SWARTZ

44, Plaintiff incorporates by reference, {§ 1 — 43 as if restated and realleged herein
verbatim.

45. To state a claim for breach of contract under Pennsylvania law, a plaintiff must
allege “(1) the existence ofa contract, including its essential terms, (2) a breach of a duty imposed
by the contract[,] and (3) resultant damages.” CoreStates Bank, N.A. v. Cutillo, 723 A.2d 1053,
1058 (Pa. Super. Ct. 1999).

46. Upon information and belief, High Swartz and Attorney Thomas entered into an
attorney client agreement with Ruth by which High Swartz and Thomas were to create a will and
non-probate distributions in order to equally distribute Ruth’s remaining assets to her children.

47. Plaintiff was a named third-party beneficiary of the May 7th Will and all prior wills
along with non-probate assets.

48. As a third-party beneficiary, Plaintiff has a right to sue High Swartz and Attorney
Thomas, as well as Defendant Loughlin, for breach of contract where Plaintiff suffered damages
resulting from a breach of contractual duties and obligations owed Ruth.

49. Ruth had long stated that her remaining assets were to be equally distributed
amongst her children.

50. However, by May 7, 2019, Ruth required physical and mental assistance and an

attorney in fact to handle her affairs.

$1. Defendant Loughlin was given power of attorney.
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52. High Swartz and Attorney Thomas allowed or employed measures that allowed
Defendant Loughlin to deprive Plaintiff of Ruth’s stated objective; namely an equal share of Ruth’s
remaining assets.

53. High Swartz and Attorney Thomas’s failure to achieve Ruth’s contract objective is
a breach of contract that has damaged Plaintiff as a third-party beneficiary in an amount exceeding
$75,000.

COUNT II - BREACH OF CONTRACT BY ATTORNEY THOMAS

54. Plaintiff incorporates by reference, {§ 1 — 53 as if restated and realleged herein
verbatim.

55. To state a claim for breach of contract under Pennsylvania law, a plaintiff must
allege "(1) the existence of a contract, including its essential terms, (2) a breach of a duty imposed
by the contract[,] and (3) resultant damages." CoreStates Bank, N.A. v. Cutillo, 723 A.2d 1053,
1058 (Pa. Super. Ct. 1999),

56. Upon information and belief, Attorney Thomas entered into an attorney client
agreement with Ruth by which Attorney Thomas was contractually bound to achieve Ruth’s
objective to equally distribute Ruth’s remaining assets to her children.

ST Attorney Thomas’s obligations arose either directly under a separate attorney client
agreement or as the attorney assigned by High Swartz to fulfill the contractual obligations by and
between High Swartz and Ruth.

58. As a third-party beneficiary of the contract, Plaintiff has a right to sue Attorney
Thomas for breach of contract where Plaintiff suffered damages resulting from Thomas’s failure
to achieve the contractual obligations of equal distribution which Thomas owed Ruth and Ruth’s

beneficiaries.
Case 2:22-cv-00591-GAM Document1 Filed 02/16/22 Page 10 of 14

59. The dissemination of non-probate assets deprives Plaintiff of his equal share of
Ruth’s remaining assets.

60. Because the dissemination of non-probate assets deprived Plaintiff of an equal share
of Ruth’s remaining assets, Attorney Thomas breached the contract and her fiduciary duty to fulfill
the stated objective of Ruth thereby causing Plaintiff damages.

61. | Thomas’s breach of contract has damaged Plaintiff in an amount exceeding
$75,000.

COUNT HII - TORTIOUS INTERFERENCE WITH AN INHERITANCE OR
EXPECTANCY BY HIGH SWARTZ, THOMAS AND LOUGHLIN

62. Plaintiff incorporates by reference, §§ 1 — 61 as if restated and realleged herein
verbatim.

63. Defendants High Swartz, Thomas, and Loughlin transferred, caused to be
transferred, or reassigned assets during Ruth’s lifetime which defeated Ruth’s stated objective of
equal distribution of her assets to her children.

64. By so doing, Defendants High Swartz, Thomas, and Loughlin interfered with
Plaintiff's expectancy of an equal share of Ruth’s remaining assets.

65. Upon information and belief, Plaintiffs rights to the business and property of “RC
Kletzing” were manipulated, reassigned, diluted and/or transferred in order to deprive Plaintiff of
the full value of his expectancy.

66. Indeed, Plaintiff was locked out of the property and the business closed through the

combined efforts of High Swartz, Thomas, and Loughlin.

67. Defendants’ conduct prevented Plaintiff from receiving gifts that Ruth promised

him.
Case 2:22-cv-00591-GAM Document1 Filed 02/16/22 Page 11 of 14

68. Accordingly, Plaintiff seeks in personam judgments against the defendants
individually and collectively to recover the value of the gifts and/or expectancy lost to Defendants’
interference.

69. The Defendants interference with Plaintiff's expectancy has damaged Plaintiff in
an amount exceeding $75,000.

COUNT IV — CONCERT OF ACTION BY HIGH SWARTZ, THOMAS AND
LOUGHLIN TO TORTIOUSLY INTERFER WITH PLAINTIFF’S EXPECTANCY

70. Plaintiff incorporates by reference, {§ 1 — 69 as if restated and realleged herein
verbatim.

vai Defendants High Swartz, Thomas, and Loughlin knew that Ruth’s objective was to
equally distribute her assets to her children.

72. Defendants High Swartz, Thomas, and Loughlin knew or should have known of
Ruth’s objective through the contract language itself, as well as the information, documents, and
statements provided by Ruth herself and Defendant Loughlin.

73. In addition, the furtive search and contacts between Loughlin and numerous law
firms and lawyers prior to Ruth and Loughlin’s appearance at High Swartz is alarming and should
have alerted High Swartz and Thomas to the likelihood that Ruth was being manipulated by
Loughlin.

74. Actions Loughlin took as power of attorney, such as closing the RC Kletzing
business, locking out Plaintiff from his management position there, hiring her own husband and

children to manage operations, and soliciting and procuring enormous loans from Ruth for

Loughlin’s children, indicate undue influence by Loughlin over Ruth and the diversion of non-

probate assets to Plaintiff's detriment.
Case 2:22-cv-00591-GAM Document1 Filed 02/16/22 Page 12 of 14

75. High Swartz and Thomas’s participation in this activity, and the utter failure of
these lawyers to achieve Ruth’s objective, and indeed achieve the opposite objective of awarding
Loughlin the lion share of Ruth’s assets, demonstrate a concert of action to interfere with and
deprive Plaintiff of his inheritance and expectancy.

76.  Unarguably, Defendants High Swartz, Thomas, and Loughlin interfered with
Plaintiff's expectancy in the RC Kletzing business and removed a portion of assets from the Will
by an inappropriate inter vivos transfer.

77. Accordingly, the business and property of “RC Kletzing” was manipulated,
reassigned, diluted, and/or transferred by Defendants in order to deprive Plaintiff of the full value
of his expectancy.

78. Accordingly, Plaintiff seeks in personam judgments against the defendants
individually and collectively to recover the value of the gifts and/or expectancy lost to Defendants’
interference.

79. The Defendants’ interference with Plaintiff's expectancy has damaged Plaintiff in
an amount exceeding $75,000.

V. PRAYER FOR RELIEF

WHEREFORE, Plaintiff prays for the following:

A. Judgment in personum against High Swartz for breach of contract and damages
equal to the value of one-third of Ruth’s non-probate estate.

B. Judgment in personum against Attorney Kathleen Thomas for breach of contract
and damages equal to the value of one-third of Ruth’s non-probate estate..
oe Judgment in personum against Judith Loughlin for breach of contract and damages

equal to the value of one-third of Ruth’s non-probate estate..

10
Case 2:22-cv-00591-GAM Document1 Filed 02/16/22 Page 13 of 14

D. An award of damages, including punitive damages, to be established at trial;
E. Interest and costs; and
F. Such further relief as this Court may deem just and equitable.

Respectfully submitted,

Date: Lobtuan Ih JO 4 ae c 1a \ Leger

ighard J. Gerace
a for Plaintiff
Attorney Id. No. 92176
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rgeracel4@comcast.net
www.rgeracelaw.com

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Case 2:22-cv-00591-GAM Document1 Filed 02/16/22 Page 14 of 14

VERIFICATION

Pursuant to 28 U.S.C § 1746, I, John R. Greisiger, hereby declare under penalty of perjury that
the factual statements contained in the Complaint are true and correct.

Executed on this | 5 th aay of February, 2022.

John j Greisiger QO
